           IN THE DISTRICT COURT OF THE UNITED STATES
          FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                        ASHEVILLE DIVISION

                         CRIMINAL NO. 1:09CR13


UNITED STATES OF AMERICA                 )
                                         )
                                         )
             VS.                         )            ORDER
                                         )
                                         )
SHALA LARONDA NICOLE FISHER              )
                                         )


        THIS MATTER is before the Court on Defendant’s appeal of the

detention order filed by the Magistrate Judge. See Order, filed May 14,

2009.

        On February 17, 2009, Defendant and 14 co-defendants were

charged in a two-count indictment with conspiracy to possess with intent to

distribute crack cocaine, in violation of 21 U.S.C. §§ 846 and 841(a)(1)

(Count One), and knowingly using a communication facility in committing

the violations set out in Count One, in violation of 21 U.S.C. § 843(b)

(Count Two). Defendant was arrested on February 25, 2009, but

subsequently released on a $25,000 unsecured bond with a number of

conditions including home confinement and electronic monitoring. See




   Case 1:09-cr-00013-MR-WCM     Document 234    Filed 05/21/09   Page 1 of 4
                                     2

Order Setting conditions of Release, filed March 4, 2009. On April 21,

2009, the Defendant entered into a plea agreement with the Government

wherein she agreed to plead guilty to the conspiracy charge contained in

Count One of the indictment. Plea Agreement, filed April 21, 2009, at 1.

A Rule 11 hearing was held before the Magistrate Judge on May 1, 2009,

and Defendant entered her guilty plea. Rule 11 Inquiry and Order of

Acceptance of Plea, filed May 1, 2009. Following acceptance of the

guilty plea by the Magistrate Judge, the Government moved for detention.

The Magistrate Judge found that Defendant’s plea of guilty to 21 U.S.C. §

841(a)(1) involved a crime under 18 U.S.C. § 3142(f)(1)(C),1 thus requiring

the Court to consider whether release was appropriate under § 3143(a)(2).

Section 3143(a)(2) provides as follows:

           (2) The judicial officer shall order that a person who has
     been found guilty of an offense in a case described in
     subparagraph (A), (B), or (C) of subsection (f)(1) of section
     3142 and is awaiting imposition or execution of sentence be
     detained unless –




     1
        This section describes an offense, such as the one at issue in the
instant appeal, “for which a maximum term of imprisonment of ten years or
more is prescribed in the Controlled Substances Act (21 U.S.C. 801 et
seq.).”


   Case 1:09-cr-00013-MR-WCM    Document 234    Filed 05/21/09   Page 2 of 4
                                      3

            (A)(i) the judicial officer finds there is a substantial
     likelihood that a motion for acquittal or new trial will be granted;
     or
            (ii) an attorney for the Government has recommended
     that no sentence of imprisonment be imposed on the person;
     and
            (B) the judicial officer finds by clear and convincing
     evidence that the person is not likely to flee or pose a danger to
     any other person or the community.

The Magistrate Judge noted that the Government did not recommend that

no sentence of imprisonment be imposed on Defendant under §

3143(2)(A)(ii) and concluded that detention was mandatory. Defendant’s

bond was then revoked and she was ordered detained pending sentencing.

See Order, supra, at 2. On May 1, 2009, Defendant appealed the

detention order, but has offered no brief in support of the appeal nor any

evidence that would support a reversal of the Magistrate Judge’s order of

detention.

     The undersigned has examined the FTR recording of the detention

hearing, considered the relevant law, and concludes that the order of

detention should be affirmed.

     IT IS, THEREFORE, ORDERED that the Order of Detention filed by

the Magistrate Judge is AFFIRMED, and the Defendant’s appeal of that

order is DENIED.



   Case 1:09-cr-00013-MR-WCM     Document 234    Filed 05/21/09   Page 3 of 4
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                                Signed: May 21, 2009




Case 1:09-cr-00013-MR-WCM   Document 234   Filed 05/21/09   Page 4 of 4
